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                                                               United States Bankruptcy Court
                                                                     Southern District of Georgia
 In re      Dongnghi N Wilson                                                                                     Case No.        17-41654
                                                                                     Debtor(s)                    Chapter         13

                                                                 CHAPTER 13 PLAN AND MOTION
                                                                     [General Order 2005-3 Approved Form]

1.          Debtor(s) shall pay to the Trustee the sum of $ 550.00                     for the applicable commitment period of:

                  60 months: or                                                             (If applicable include the following): These plan payments
                  a minimum of 36 months. § 1325(b)(4).                                     change to $       in month        .

2.          From the payments so received, the Trustee shall make disbursements as follows:

            (a) The Trustee percentage fee as set by the United States Trustee.

            (b) Attorney fees allowed pursuant to § 507(a)(2) of $ 4,500.00                        to be paid in accordance with applicable General Orders
            of this Court.

            (c) Other § 507 claims, unless provided for otherwise in the plan will be paid in full over the life of the plan as funds
            become available in the order specified by law.

            (d)             Monthly payments according to the contract on the following long-term debts. § 1322(b)(5). (Payments which
                            become due after the filing of the petition but before the month of the first payment designated here will be added
                            to the pre-petition arrearage claim):

                             CREDITOR                                   MONTH OF FIRST TRUSTEE                                     INITIAL MONTHLY
                                                                        PAYMENT                                                            PAYMENT
                             -NONE-

            IN THE ALTERNATIVE:
                    Debtor will make post-petition payments direct to creditor according to the contract on the following long-term
                    debts:

                             CREDITOR                                                                             INITIAL MONTHLY PAYMENT
                             Pennymac Loan Services                                                                                              $645.00

            (e) Fully Secured Allowed Claims and Executory Contracts as set forth below:

         CREDITOR                       COLLATERAL                      ESTIMATED CLAIM              INTEREST RATE           MONTHLY PAYMENT
         Freedom Road Fin               2013 Harley Davidson           $14,082.00                  5.50.%                              $200/mo x 12 mos
                                                                                                                                       $325/mo x 48 mos

            (f) Undersecured Allowed Claims. Debtor moves to value the collateral partially securing the following claims pursuant to
                §506 and provide payment in satisfaction of those claims as set forth below:

                             CREDITOR                 COLLATERAL                  VALUATION INTEREST RATE                    MONTHLY PAYMENT

                             -NONE-                                                                         %

            (g) Cure payments on allowed prepetition arrearage claims set forth below. § 1322(b)(5):

                             CREDITOR                                                                        ESTIMATED PREPETITION CLAIM
                             -NONE-

            (h) The following unsecured allowed claims are classified to be paid at 100%                        with interest at       %;      without interest.

                             CREDITOR

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                             CREDITOR
                             -NONE-

                     (i) Allowed general unsecured claims, including the unsecured portion of any bifurcated claims provided for in ¶2(f)
                         or 6, will be paid a 0 % dividend or a prorata share of $ 8,000.00 , whichever is greater.

3.          Debtor will make § 1326(a)(1) pre-confirmation lease and adequate protection payments on allowed claims of the following
            creditors:          Direct to the Creditor; or          To the Trustee

                              CREDITOR                                      ADEQUATE PROTECTION OR LEASE PAYMENT AMOUNT
                              -NONE-

4.          Debtor will pay all post-petition domestic support obligations direct to the holder of such claim identified here. § 101(14A).
            Debtor requests Trustee to provide the statutory notice of § 1302(d) to these claimants.

                                CREDITOR                                                   ADDRESS
                                -NONE-

5.          Pursuant to 11 U.S.C. §522(f), debtor moves to avoid the liens of the following creditors, upon confirmation but subject to §
            349, with respect to the property described below:

                                 CREDITOR                                                  PROPERTY
                                 -NONE-

6.          The following collateral is surrendered to the creditor to satisfy the secured claim to the extent shown below:

          CREDITOR                                            DESCRIPTION OF COLLATERAL                   AMOUNT OF CLAIM SATISFIED
          Wells Fargo Auto Finance                            2013 Honda Pilot                                         Full Satisfaction

7.          Holders of allowed secured claims shall retain the liens securing said claims to the full extent provided by § 1325(a)(5).

8.          Other provisions:

            Any fees, expenses and charges asserted under Fed. R. Bankr. P 3002.1(c) are not to be funded through the Chapter
            13 plan. Debtor(s) will pay these post-petition expenses directly to their mortgage holder/servicer unless the Court
            has disallowed them on a Motion filed under Fed. R. Bankr. P. 3002.1(e).

9.          The amount, and secured or unsecured status, of claims disclosed in this Plan are based upon debtor's best estimate and
            belief. An allowed proof of claim will supersede those estimated claims. Objections to claims may be filed before or after
            confirmation. Debtor will increase payments in the amount necessary to fund allowed claims as this Plan proposes, after
            notice from the Trustee and a hearing if necessary, unless a Plan Modification is approved.


 Date November 3, 2017                                                Signature   /s/ Dongnghi N Wilson
                                                                                  Dongnghi N Wilson
                                                                                  Debtor




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